                                                                                           1/23/2019
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                       LYNCHBURG DIVISION



  KATHERINE PAINTER,                                   CASE NO. 6:17-cv-00034
                                      Plaintiff,

                        v.                             MEMORANDUM OPINION


  BLUE RIDGE REGIONAL JAIL AUTHORITY,                  JUDGE NORMAN K. MOON
  ET AL.,
                                     Defendant.


        This matter is before the Court upon Defendant Timothy Farrar’s Motion to Set Aside

 Default Judgment pursuant to Fed. R. Civ. P. 60(b)(4). (Dkt. 64). Defendant claims he was not

 served with process, and that the judgment entered against him by this court, (dkt. 61), is

 therefore void for lack of personal jurisdiction. (Dkt. 65). After a hearing on this matter, the

 Court finds that service was not proper, and will grant Defendant’s motion. However, finding

 good cause to do so, the Court will grant Plaintiff an extension of time to serve.

                               I.     Factual and Procedural Background

        In April 2017, Plaintiff Katherine Painter (“Plaintiff”) filed suit under 42 U.S.C. § 1983

 against Blue Ridge Regional Jail Authority (“BRRJA”), Corrections Officer Pitts, and

 Corrections Officer Farrar (“Defendant”), alleging violations of her Eighth Amendment rights.

 (Dkt. 1). Summonses were first issued to all three defendants in May 2017. (Dkts. 2, 3, and 4).

 Service was successful as to BRRJA and Officer Pitts. (Dkts. 6 and 7). Those defendants

 submitted responsive pleadings and were ultimately dismissed. (Dkt. 35). At the time of that

 dismissal, no return of service had been filed as to Defendant, and he had made no appearance

 before this Court. In July 2017, Plaintiff filed her first motion to extend time to serve Defendant,

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 citing a process server’s attempted service at seven locations as good cause for an extension.

 (Dkt. 27). Included in this list of locations was an address in Forest, Virginia. (Id. at 2). At the

 hearing on Defendant’s motion to vacate, the Court confirmed that this address was 1323

 Autumn Run Dr, Forest, Virginia 24551, the address Defendant has since identified as his

 current residence. (Dkt. 75-9). On August 1, 2017, Defendant received a letter from the

 Division of Risk Management (“DRM”) notifying him that suit had been filed against him. (Dkt.

 75-1). This letter did not denote the place of, or reason for, the suit, but instructed Defendant

 that he would be provided with counsel “in the event [he was] served” with the referenced

 lawsuit. (Id. at 1).

         On August 28, 2017, Plaintiff filed her second motion for an extension of time to serve

 Defendant. (Dkt. 33). Magistrate Judge Ballou granted that motion, noting Plaintiff’s repeated

 attempts to locate Defendant and the possibility that Defendant was avoiding service. (Dkt. 36 at

 3–4). Plaintiff was ordered to serve Defendant by October 29, 2017. (Id.). Plaintiff filed an

 executed summons on October 25, 2017, detailing service completed on August 28, 2017 by

 posting “on the front door of [Defendant’s] abode” at 90 Weeping Willow Drive, Apt. J,

 Lynchburg, VA 24501. (Dkt. 39-1). Plaintiff relied on information provided by a professional

 process server to determine that the apartment at Weeping Willow Drive was Defendant’s

 residence.

         Defendant failed to respond in any way, and on November 8, 2017, upon Plaintiff’s

 motion, the Clerk of this Court filed an entry of default. (Dkts. 39 and 40). On December 27,

 2017, Plaintiff moved for default judgment, and the Court held a hearing on the matter. (Dkts.

 57, 61). Notice of the motion for default judgment was mailed to multiple addresses, and was

 received by Defendant at his address in Forest, Virginia. Defendant did not attend the hearing on



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 Plaintiff’s motion. Based on the evidence before it at the time, the Court found that service was

 proper under Va. Code § 8.01-296(2)(b), which provides for substitute service by posting process

 on the front of the defendant’s abode. (Dkt. 60). Accordingly, the Court concluded that default

 judgment was appropriate and entered judgment against the Defendant in the amount of

 $732,888. (Dkt. 61). Less than one month later, Defendant made his first appearance before this

 Court, requesting that judgment be set aside as void due to lack of personal jurisdiction. (Dkt.

 64).

        The Court held a hearing on Defendant’s motion.           (Dkt. 74).     At that hearing,

 Defendant’s wife testified that she and Defendant have lived at her parents’ home located at

 1323 Autumn Run Drive, Forest, Virginia 24551 since 2016.           Plaintiff presented evidence

 showing that she had hired multiple process servers in an effort to identify Defendant’s usual

 place of abode, and that she had attempted service at the Autumn Run Drive address to no avail.

 (Dkts. 75-3, 75-8). Plaintiff also presented evidence that she had sent information regarding the

 pending default judgment to the same Autumn Run Drive address.                (Dkts. 75-5, 75-6).

 Defendant confirmed that he received those communications.

        Finally, a process server reported to Plaintiff that Defendant’s father said Defendant was

 married and could be residing outside of the state, possibly in Florida. (Dkt. 75-3). Defendant

 testified that his father knew Defendant was married and that Defendant and his father are in

 frequent contact, but that Defendant never changed his residence to the state of Florida, nor was

 there any reason his father would believe he had done so. Defendant stated that, as a condition

 of court supervision related to criminal charges, he updated his address with the court and the

 Department of Motor Vehicles within the first month of moving to Autumn Run Drive.

 According to Defendant, the process server should have been able to find his address.



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                                        II.          Legal Standard

        Fed. R. Civ. P. 60(b)(4) states that “the court may relieve a party or its legal

 representative from a final judgment, order, or proceeding. . . [because] the judgment is void.”

 “An order is void for purposes of Rule 60(b)(4) only if the court rendering the decision lacked

 personal or subject matter jurisdiction or acted in a manner inconsistent with due process of

 law.” Wendt v. Leonard, 431 F.3d 410, 412 (4th Cir. 2005). “Before a federal court may

 exercise personal jurisdiction over a defendant, the procedural requirement of service of

 summons must be satisfied.” Omni Capital Intern., Ltd. v. Rudolf Wolff & Co., Ltd., 484 U.S.

 97, 104 (1987). For service to be effectuated, a summons must be served with a copy of the

 complaint. Fed. R. Civ. P. 4(c)(1). Service can be made pursuant to state law or in a manner

 prescribed by Fed. R. Civ. P. 4(e).

                                              III.       Discussion

        Defendant’s claim that he was not served with process, if true, would mean that this

 Court could not exercise personal jurisdiction over him. See Bank United v. Hamlett, 286 B.R.

 839, 843 (W.D.Va.2002) (“As any first-year law student knows, when service of process is

 ineffective a court does not acquire personal jurisdiction over a party, and a default judgment

 resulting from such defective service is void.”). Returns of service like those present on this

 record act as prima facie evidence of valid service. Capital Concepts, Inc. v. CDI Media Group,

 No. 3:14-cv-00014, 2014 WL 3748249, at *4 (W.D.Va. 2014). “‘In the federal system, some

 courts require a showing of ‘strong and convincing evidence’ to overcome a facially valid return

 of service generated by a private process server, while others simply have suggested that a

 rebuttable presumption of correctness might apply.’”            Id. (quoting Corcoran v. Shoney’s

 Colonial, Inc., 39 Fed. R. Serv. 3d 345, 1997 WL 470365, at *2 (W.D.Va. 1997)). “Defendants



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 must therefore, at the very least, present credible evidence to rebut the presumption of validity”

 created by the return of service entered October 25, 2017. Id.          Here, the Court finds that

 Defendant meets that burden.

        Virginia Code § 8.01-296(2)(b) permits substitute personal service by posting a copy of

 process on the main entrance of a person’s usual place of abode. The United States Supreme

 Court has specifically addressed what constitutes “the front-door of the party’s usual place of

 abode” under Virginia law. Earle v. McVeigh, 91 U.S. 503, 508 (1875). In Earle, the Court held

 that “the house must be [defendant’s] usual place of abode, so that, when he returns home, the

 copy of the process posted on the front-door will operate as notice . . . [T]he law does not mean

 the last place of abode . . . [I]t is only on the door of his then present residence where the notice

 may be posted” in compliance with the law. Id, see also Drewry v. Nottingham, 64 Va. Cir. 269,

 269, 2004 WL 2848510, at *2 (Va. Cir. Ct. 2004) and Dispanet v. Dispanet, 54 Va. Cir. 451,

 451, 2001 WL 168257, at *2 (Va. Cir. Ct. 2001) (citing Earle v. McVeigh). Defendant claims

 that Plaintiff’s service was invalid because it was posted on the door of 90 Weeping Willow

 Drive, Apt. J, which was not his usual place of abode. (Dkt. 65). In support of this claim,

 Defendant presents an affidavit, his in-court testimony, and his wife’s in-court testimony that he

 has lived at 1323 Autumn Run Road since August 2016. Defendant’s affidavit further states that

 he “promptly notified [his] attorney, the court services pretrial supervisor and the Virginia DMV

 of [his] change in address.” (Dkt. 75-9 at 2). The Court finds this evidence credible, concluding

 that service was not posted at Defendant’s usual place of abode, and therefore that Plaintiff’s

 service was invalid.

        Plaintiff argues that the Court should not vacate the judgment because Defendant had

 “clear notice and actual knowledge of the pending litigation.”           (Dkt. 69 at 11).     While



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 Defendant’s receipt of the letter from DRM and of the information regarding pending default

 judgment undoubtedly gave him notice of this suit, notice does not prevent a defendant from

 asserting a personal jurisdiction defense if the defendant did not appear in court prior to filing

 their motion to vacate default judgment. See Foster v. Arletty 3 Sarl, 278 F.3d 409, 413 (4th Cir.

 2002) (“[A]ppellees did not appear in the [] action prior to filing their motion to vacate judgment

 and, as a result, have not waived their personal jurisdiction defense.”); see also Ins. Corp. of

 Ireland, Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 704 (1982) (“[A] defendant is

 always free to ignore the judicial proceedings, risk a default judgment, and then challenge that

 judgment on jurisdictional grounds in a collateral proceeding.”). Accordingly, where, as here,

 the evidence demonstrates that service was not proper, the Court must conclude that the default

 judgment is void for lack of personal jurisdiction.

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        Plaintiff asks that, if default judgment is vacated, she be allowed to serve Defendant now

 that his usual place of abode has been established. Federal Rule of Civil Procedure 4(m) states

 that “if the plaintiff shows good cause for the failure [to serve], the court must extend the time

 for service for an appropriate period.” Fed. R. Civ. P. 4(m). For the following reasons, the

 Court finds that such good cause exists here and will extend the time for service.

         “Because the question of what constitutes ‘good cause’ necessarily is determined on a

 case-by-case basis within the discretion of the district court, courts have declined to give it a

 concrete definition, preferring to analyze a number of factors.” Scott v. Md. St. Dep’t of Labor,

 673 F. App’x 299, 306 (4th Cir. 2016); see also Robinson v. G D C, Inc., 193 F.Supp.3d 377,

 580 (E.D. Va. 2016) (“Good cause as used in Rule 4(m) refers to a legally sufficient ground or

 reason based on all relevant circumstances” (citing Madden v. Texas, 498 U.S. 1301, 1305



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 (1991)). In Scott, the Fourth Circuit enumerated six such factors: (1) the plaintiff’s control over

 the delay in service; (2) whether the defendant was evasive; (3) if the plaintiff acted diligently;

 (4) whether the plaintiff was represented by counsel; (5) if the defendant will be prejudiced; and

 (6) whether the plaintiff asked for an extension of time before the deadline. 673 F. App’x at 306.

        The Court considers the facts of this case in light of these factors. See Satterfield v. City

 of Chesapeake, No. 2:16-cv-665, 2017 WL 2546451, at *3 (E.D.Va 2017) (applying the factors

 enumerated in Scott). The Court first evaluates whether the delay was within Plaintiff’s control.

 “Courts generally do not deny extensions to plaintiffs when they trust third parties to effectively

 serve process and service of process is part of the third party’s occupation.” Id. (citing Graham

 v. Satkoski, 51 F.3d 710, 713 (7th Cir. 1995) (holding that failure to serve process by Marshals

 Service was good cause for the purposes of Rule 4(m) if the Marshals Service could have

 obtained the defendants’ addresses with reasonable effort but failed to do so)). Here, Plaintiff

 initially hired a local process server to attempt service at at least five different addresses. (Dkt.

 75-8). After initial difficulties, and upon the belief that Defendant may no longer reside in

 Virginia, Plaintiff hired a second process server, employed by Integrity Process Serving, Inc.,

 who had the technological capabilities for a more in depth search.            Both process servers

 attempted to locate and serve Defendant, and, Defendant testified that they should have been able

 to do so. Accordingly, there is no indication that Plaintiff had any control over the process

 servers’ failure, and the first Scott factor therefore weighs in her favor.

        The second factor, regarding the defendant’s evasion of service, also weighs in Plaintiff’s

 favor. In June 2017, a local process server visited the address Defendant identifies as his

 residence. (Dkt. 75-8). Plaintiff did not receive an explanation as to why process there was

 unsuccessful, nor was Defendant able to shed light on the matter. Defendant stated that his



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 father was a deputy sheriff in Appomattox County, that anybody who had been a process server

 in the jurisdiction would probably know his father, and that Defendant has never gone any

 significant period of time without communicating with his father.            Despite the consistent

 communication between father and son, as well as the process server’s efforts to locate

 Defendant at his father’s house, Plaintiff was under the impression that Defendant might reside

 in Florida. These clear inconsistencies lead the Court to conclude that Defendant very likely

 attempted to evade Plaintiff’s many efforts at service. Accordingly, the second Scott factor also

 weighs in Plaintiff’s favor. See In re Buescher, 783 F.3d 302, 307 (5th Cir. 2015) (upholding

 the bankruptcy court’s extension of time to serve where there was potential evasion of service).

         The Court next turns to the third factor, Plaintiff’s diligence, and, noting Plaintiff’s

 continuous and repeated efforts to serve Defendant, finds that her attempts have been both

 reasonable and diligent. See Chen v. Mayor & City Council of Baltimore, 292 F.R.D. 288, 293

 (D. Md.), (requiring plaintiff to show “reasonable and diligent efforts to effect service” in order

 to justify good cause extension), aff’d, 546 Fed. App’x 187 (4th Cir. 2013). Plaintiff made use of

 each extension of time granted by the Court. She hired multiple process servers in an attempt to

 effectively serve defendant, and made sure that the second process server had the technological

 capabilities to expand the scope of the search. Cf. Tann v. Fisher, 276 F.R.D. 190, 194 (D. Md.)

 (declining to grant an extension after plaintiff’s service of process was deficient and plaintiff

 made only “one follow-up effort” which was “leagues below” the effort required for a “diligent

 effort”), aff’d, 458 Fed. App’x 268 (4th Cir. 2011). Accordingly, this factor also weighs in favor

 of Plaintiff.

         Finally, the Court considers factor four (whether Plaintiff is pro se), factor five (prejudice

 to Defendant), and factor six (whether Plaintiff requested an extension before the deadline).



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 Scott, 673 F. App’x at 306. Plaintiff is represented by counsel, and factor four therefore does not

 weigh in her favor. Satterfield, 2017 WL 2546451 at *5. As to factor five, it is unlikely

 Defendant will suffer prejudice from an additional extension because he has had actual notice of

 this lawsuit since August 1, 2017. The Court also notes that Defendant makes no argument that

 he would be prejudiced were the Court to permit Plaintiff to serve process at this time. Finally,

 because this extension would be granted after any other deadlines have elapsed, factor six does

 not weigh in Plaintiff’s favor. However, the Court notes that Plaintiff believed she had properly

 posted service at Defendant’s usual place of abode within the time prescribed by the Court and

 executed a return of service indicating that fact. (Dkt. 39). Accordingly, default judgment was

 entered, and Plaintiff has promptly requested that she be allowed to serve Defendant in the event

 that judgment is set aside.

        In sum, the Court finds that the majority of the Scott factors weigh in favor of finding that

 good cause exists for Plaintiff’s failure to serve Defendant. Accordingly, the Court will grant

 Plaintiff’s requested extension of time to serve Defendant.

                                            IV.       Conclusion

        For the forgoing reasons, Defendant’s motion to vacate will be granted.           However,

 finding good cause to do so, the Court will allow Plaintiff to serve Defendant in a manner

 consistent with the accompanying Order.

        Entered this ____
                     23rd day of January, 2019.




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